                Case 23-874, Document 13, 06/26/2023, 3535304, Page1 of 6




                                                                         D. G. SWEIGERT, C/O
                                                                       MAILBOX, PMB 13339
                                                         514 Americas Way, Box Elder, SD 57719
                                                                 Spoliation-notice@mailbox.org
June 25, 2023
                                      Goodman v. Bouzy, et. al. Case No. 1: 21-cv-10878-AT-JLC
Catherine O’Hagan Wolfe
Clerk of Court
U.S. Court of Appeals
40 Foley Square
New York, N.Y. 10007
Via e-mail message

SUBJ:           DOCKET NO. 23-874
Dear Madam,
1.      This is a transmittal letter to provide you with a copy of the notice of error and correction
sent to the Clerk of the Court for the S.D.N.Y.

2.      A courtesy copy of this letter instant will be sent to the U.S. Supreme Court.

3.     Under the penalties of perjury, the undersigned asserts that this filing is not unnecessarily
duplicative; (ii) that the submission is not frivolous or made in bad faith or for any improper
purpose; and (iii) that the filing complies with this Court’s orders, the Federal Rules of Appellate
Procedure, and this Court’s Local Rules.

Respectfully,      Signed this June 25, 2023 (06/25/2023).


                                                     D.G. SWEIGERT, PRO SE DEFENDANT




                                                 1
                Case 23-874, Document 13, 06/26/2023, 3535304, Page2 of 6




                                 CERTIFICATE OF SERVICE




Hereby certified that a PDF copy of this letter has been sent via electronic mail to:

Jason Goodman, sole stockholder of MULTIMEDIA SYSTEM DESIGN, INC.


truth@crowdsourcethetruth.org
Georg.webb@gmail.com

berlins@ballardspahr.com
mishkinm@ballardspahr.com
liz.lockwood@alilockwood.com

margaret.esquenet@finnegan.com and MaryKate.Brennan@finnegan.com

bmiddlebrook@grsm.com and jtmills@grsm.com

Certified under penalties of perjury.
Respectfully,      Signed this June 25, 2023 (06/25/2023).




                                                          PRO SE DEFENDANT/APPELLANT




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                                     UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF NEW YORK

 D. G. Sweigert,
 Defendant,                                                                                                         PRO SE
 Conditional Pro Se Counter-Plaintiff

                             -against-                                                                 21-cv-10878-AT-JLC

 Jason Goodman,                                                                              District Judge Analisa Torres
 Plaintiff,
 Conditional Pro Se Counter-
 Defendant
                                                                                         Magistrate Judge James L. Cott


                DEFENDANT’S EMERGENCY NOTICE OF SERIOUS ERROR
             IN THE COURT DOCKET REQUIRING IMMEDIATE CORRECTION




TO THE CLERK: The entry (ECF 232) does not link to the proper letter (attached), but to a

letter from Jason Goodman filed three (3) days later. It is these types of errors that fuel

Goodman’s toxic social media conspiracy mongering that this Court is corrupt. This error has

been reported to the U.S. Second Court of Appeals.

                   HO\V-CAUSE HEARING TO-DE=ARFJASON GOODMA..>'IXVEXATIOUSt:ITIGl\Nf.L)ocwnent lileaoyDanct George Swe1gc,1.(sc) (sc,.(En ere :
                  06 16 2023)

06 2012023   ill LETTER addressed to Judge Analisa Ton-cs from D.G. Sweigcn. dated 6/ 18 23 re: "DISTRICT JUDGE REVIEW OF ECF 202 AS SUGGESTED BY THE CLERK
                 OF THE SECOND CIRCUIT''• As is the history with Magistrate Judge Cott. his Order pro,ides no mcaningfol oppomu'Uty for the 1u1dcrsigncd to be heard.
                  consequently die Order is appcalable pursuant to F.R.C.P. 60(bX4) etc.di. Document fded by Da,·id George Sn·cigc,t.(sc) (Entered: 06 20,2023)
06 20 2023   ill REPLY TO DEFENDANTS' OPPOSITIOK TO PLAINTIFF'S OBJECTIOK TO ORDER & REPORT & RECOMMENDATION. Docwnc,it filed by Jason
                  Goocbnru.1. (Attachments: 'Fi 1 Certificate ofScrviccXsc) (Entered: 06120'2023)




June 25th, 2023



                                                                                   D. G. SWEIGERT PRO SE DEFENDANT, C/O
                                                                                               PMB 13339, 514 Americas Way,
                                                                                                        Box Elder, SD 57719




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             Case 23-874, Document 13, 06/26/2023, 3535304, Page4 of 6




                                CERTIFICATE OF SERVICE

It is hereby certified under the penalties of perjury that a true copy PDF file has been sent

via e-mail message to the following:



Jason Goodman, sole stockholder of MULTIMEDIA SYSTEM DESIGN, INC.


truth@crowdsourcethetruth.org
Georg.webb@gmail.com

berlins@ballardspahr.com
mishkinm@ballardspahr.com
liz.lockwood@alilockwood.com

margaret.esquenet@finnegan.com and MaryKate.Brennan@finnegan.com

bmiddlebrook@grsm.com and jtmills@grsm.com

Certified under penalties of perjury.
Signed this June 25, 2023.




                                                                     PRO SE DEFENDANT




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                Case 23-874, Document 13, 06/26/2023, 3535304, Page5 of 6




                                                D. G. SWEIGERT, C/O, MAILBOX, PMB 13339
                                                       514 Americas Way, Box Elder, SD 57719
                                                               Spoliation-notice@mailbox.org
June 18, 2023
                                      Goodman v. Bouzy, et. al. Case No. 1: 21-cv-10878-AT-JLC
Honorable Analisa N. Torres, U.S. District Judge
U.S. District Court for the Southern District of New York
500 Pearl Street, New York, N.Y. 10007
Via ECF filing

SUBJ:     District Judge review of ECF 202 as suggested by the Clerk of the Second Circuit
Your Honor,
1.      As described in ECF 229, the Clerk of the Court for the U.S.C.A. for the Second Circuit
has suggested Your Honor’s review of ECF 202 in lieu of an interlocutory appeal. As is the history
with Magistrate Judge Cott, his ORDER provides no meaningful opportunity for the undersigned
to be heard, consequently the ORDER is appealable pursuant to F.R.C.P. 60(b)(4) for due process
violations. Sec. & Exch. Comm'n v. Romeril, 15 F.4th 166 (2d Cir. 2021), United Student Aid
Funds v. Espinosa, 559 U.S. 260, 130 S. Ct. 1367, 176 L. Ed. 2d 158 (2010).

2.      As was the case with ECF 158 and 161, Magistrate Cott treats preliminary letters requesting
leave of the court to file a motion as fully briefed “motions” which are swept under the rug, see
Para. 8, ECF 203 (the rug). Magistrate Cott intends to deny due process and a meaningful
opportunity to be heard to the undersigned and his ECF 204 request for leave (to withdraw his
motion to dismiss and proceed with the acceptance of this Court’s personal jurisdiction and
prosecute the COUNTERCLAIM, ECF 138, against Goodman). Thus, the ORDER 202 is void
for violations of the undersigned’s due process rights and should be reviewed pursuant to F.R.C.P.
60(b)(4), if the Court is so inclined. Otherwise, the undersigned will continue with his response
to ECF 229 on or before June 27, 2023.

3.     Under the penalties of perjury, the undersigned asserts that this filing is not unnecessarily
duplicative; (ii) that the submission is not frivolous or made in bad faith or for any improper
purpose; and (iii) that the filing complies with this Court’s orders, the Federal Rules of Civil
Procedure, and this Court’s Local Rules.

Respectfully,      Signed this Father’s Day, June 18, 2023 (06/18/2023).


                                                     D.G. SWEIGERT, PRO SE DEFENDANT
                                                           PARENT OF HANDICAPPED SON




                                                 1
                Case 23-874, Document 13, 06/26/2023, 3535304, Page6 of 6




                                 CERTIFICATE OF SERVICE




Hereby certified that a PDF copy of this letter has been sent via electronic mail to:

Jason Goodman, sole stockholder of MULTIMEDIA SYSTEM DESIGN, INC.


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bmiddlebrook@grsm.com and jtmills@grsm.com



Courtesy copy to the U.S.C.A. for the Second Circuit

prosecases@ca2.uscourts.gov

Certified under penalties of perjury.
Respectfully,      Signed this June 18, 2023 (06/18/2023).




                                                                          PRO SE DEFENDANT




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